              Case 23-34815 Document 958 Filed in TXSB on 01/28/25 Page 1 of 3
                                                                                                   United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                             ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                         January 28, 2025
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

    In re:                                                  §
                                                            §        Case No. 23-34815 (JPN)
    GALLERIA 2425 OWNER, LLC,                               §
                                                            §        Chapter 11
             Debtor.                                        §


             ORDER CANCELING LIS PENDENS RECORDED AS INSTRUMENT NOS.
                     RP-2024-477576, RP-2025-23705, AND RP-2025-25888


             Upon National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”)’s, for itself and

Houston 2425 Galleria, LLC (“Houston 2425”), Fourth Emergency Motion (the “Motion”) 1 to

Enforce Sale Order and Cancel Lis Pendens Recorded as Instrument Nos. RP-2024-477576, RP-

2025-23705, and RP-2025-2588; and this Court having jurisdiction to consider the Motion and the

relief requested therein pursuant to 28 U.S.C. § 1334; and consideration of the Motion and the

requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that

venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper

notice of the Motion having been provided; and it appearing that emergency consideration of the

Motion is warranted and that no other or further notice need be provided; and this Court having

reviewed the Motion; and all objections, if any; and this Court having determined that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein based

upon the record before it, including the entire record of this chapter 11 case; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor,

             IT IS HEREBY ORDERED THAT:


1
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.


                                                                                                      4900-8359-9891.v3
       Case 23-34815 Document 958 Filed in TXSB on 01/28/25 Page 2 of 3




       1.     The Motion is granted as set forth herein.

       2.     Emergency relief is warranted.

       3.     The Notices of Lis Pendens recorded as Instrument Nos. RP-2024-477576, RP-

2025-23705, and RP-2025-2588 in the Official Public Records of Harris County, Texas are

canceled and expunged.

       4.     The Harris County Clerk’s Office is directed to accept this order for recording and

to strike Instrument Nos. RP-2024-477576, RP-2025-23705, and RP-2025-2588 in the Official

Public Records of Harris County, Texas, or otherwise to reflect Instrument Nos. RP-2024-477576,

RP-2025-23705, and RP-2025-2588 in the Official Public Records of Harris County, Texas as

being canceled and expunged.

       5.     Any title agents and title insurance underwriters can recognize and rely on this order

to issue title policies on the Property without exception for Jetall’s Notices of Lis Pendens,

recorded as Instrument Nos. RP-2024-477576, RP-2025-23705, and RP-2025-2588 in the Official

Public Records of Harris County, Texas.

       6.      Lance Nguyen, Justin Rayome, Ali Choudhri, any entity under the control of Ali

Choudhri, and any individual acting on behalf of Ali Choudhri or any entities that he controls are

enjoined and barred from bringing any action or recording any instruments, excluding appeals, in

any court affecting the Property in any manner whatsoever.

       7.     In addition to any other sanction imposed by a separate order this Court:

              a. a monetary sanction of $25,000 will be imposed against any entity under the

                  control of or any individual acting on behalf of Mr. Ali Choudhri or any entities

                  that he controls for each future violation of this Court’s orders;




                                                2
                                                                                       4900-8359-9891.v3
        Case 23-34815 Document 958 Filed in TXSB on 01/28/25 Page 3 of 3




                b. a monetary sanction of $50,000 will be imposed against any entity under the

                    control of or any individual acting on behalf of Mr. Ali Choudhri or any entities

                    that he controls for each future recording of a notice of lis pendens against the

                    Property in violation of this Court’s orders; and

                c. a sanction of a 180-day bar from appearing before this Court will be imposed

                    against any attorney for each future violation of this Court’s orders committed

                    on behalf of Ali Choudhri or any entity that he controls.

        8.      The entry of this order is without prejudice to NBK’s rights to any pending request

for relief from the Court regarding Jetall or any affiliated party’s violations of this Court’s orders

and the attorneys’ fees, costs, and other expenses NBK has incurred as a result of such violations

or any future requests for relief.

        9.      This Court retains exclusive jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this order.




Signed on: January
              _____________,
             April      2025 2025
                    28,2018
                   04,
              Houston, Texas                       Jeffrey P. Norman
                                                   United States Bankruptcy Judge




                                                  3
                                                                                        4900-8359-9891.v3
